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            In the United States Court of Federal Claims
                                  No. 13-48 C

                              (Filed July 5, 2013)

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DYNAMICS RESEARCH        *
CORPORATION,             *
                         *
              Plaintiff, *
                         *
                         *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
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                                    ORDER

     On July 3, 2013, defendant filed an Unopposed Motion for an Enlargement of
Time of sixty days, to and including September 3, 2013, to file a response to the
complaint. For good cause shown, it is hereby ORDERED that defendant’s
motion is GRANTED.


                                           /s/Lynn J. Bush
                                           LYNN J. BUSH
                                           Judge
